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                                                                  ^■S.Lio7.          ;:r 'v:
                   IN THE UNITED STATES DISTRICT COURT
                                                                      S-x\.           cfV'.'^'
                                                                 il'ijHi i    -U   A.'! /!-
                                                                                   A:! !!: 32
               FOR THE SOUTHERN DISTRICT OF GEORGIA

                                                                              .

                                SAVANNAH DIVISION                    io. DIS


THE UNITED STATES OF AMERICA,


               Plaintiff,

                   V.                            4:16CR260-05


MORRIS POLLARD,     JR. ,


               Defendant.




                                    ORDER




     Counsel in the above-captioned case have advised the Court

that all pretrial motions have been complied with and/or that all

matters   raised    in      the parties'   motions   have   been resolved by

agreement. Therefore, a hearing in this case is deemed unnecessary.



     SO ORDERED,        this
                                i/K day of November, 2016



                                     UNITED STATES MAGISTRATE JUDGE
                                     SOUTHERN DISTRICT OF GEORGIA
